 Case 2:20-mj-02326-DUTY Document 34 Filed 07/09/20 Page 1 of 1 Page ID #:111



1    AMY M. KARLIN (Bar No. 150016)
     Interim Federal Public Defender
2    (E-mail: Amy_Karlin@fd.org)
     ADAM OLIN (Bar No. 298380)
3    (E-Mail: Adam_Olin@fd.org)
     Deputy Federal Public Defender
4    321 East 2nd Street
     Los Angeles, California 90012-4202
5    Telephone: (213) 894-1462
     Facsimile: (213) 894-0081
6
     Attorneys for Defendant
7    WILLIAM SADLEIR
8                               UNITED STATES DISTRICT COURT
9                           CENTRAL DISTRICT OF CALIFORNIA
10                                       WESTERN DIVISION
11
     UNITED STATES OF AMERICA,                     Case No. 20-MJ-2326
12
                   Plaintiff,                      [PROPOSED] ORDER MODIFYING
13                                                 CONDITIONS OF BOND
            v.
14
     WILLIAM SADLEIR,
15
                   Defendant.
16
17
18          GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED that bond
19   previously issued in this matter be amended as follows: that Joule Kadadu be added as a
20   surety in the amount of $1,250,000 in the place of Tyson Sadleir, with joint and several
21   liability as set out in the bond.
22
23
24   Dated: July 9, 2020          By:_______________________________________
                                            Alexander F. MacKinnon
25                                          United States Magistrate Judge
26
27
28
